
Appeal No. 12921 from Judgment dated August 31, 1987; Gray Evans, Ruling Judge, Sunflower County Circuit Court.
T.A. Hartfield, Parchman, pro se.
Mike C. Moore, Atty. Gen., Henry C. Clay, III, Sp. Asst. Atty. Gen., Jackson, J.B. Van Slyke, Jr., Hattiesburg, Mary H. Kenwright, Grenada, Vicki Leggett, Weathers Gray &amp; Leggett, Hattiesburg, for appellees.
Before HAWKINS, P.J., and ROBERTSON and SULLIVAN, JJ.
Judgment is Affirmed.
